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    In the United States Court of Federal Claims
                             OFFICE OF SPECIAL MASTERS
                                           No. 14-86V
                                      Filed: March 18, 2016

* * * * * * * * * * * * * * * *                           UNPUBLISHED
GWEN JASMIN, on behalf of                    *
her minor child, D.R.J.,                     *
                                             *            Special Master Hamilton-Fieldman
               Petitioner,                   *
                                             *            Joint Stipulation on Damages;
v.                                           *            Influenza (“Flu”) Vaccine;
                                             *            Cerebellar Ataxia; Seizure Disorder.
SECRETARY OF HEALTH                          *
AND HUMAN SERVICES,                          *
                                             *
               Respondent.                   *
* * * * * * * * * * * * * * * *
Andrew Downing, Van Cott & Talamante, PLLC, Phoenix, AZ, for Petitioner.
Christine M. Becer, United States Department of Justice, Washington, D.C., for Respondent.

                                           DECISION 1

       On January 30, 2014, Gwen Jasmin (“Petitioner”) filed a petition on behalf of her minor
son, D.R.J., pursuant to the National Vaccine Injury Compensation Program. 2 42 U.S.C. §§
300aa-1 to -34 (2006). Petitioner alleged that an influenza (“flu”) vaccine administered to D.R.J.
on February 17, 2012 caused him to suffer from cerebellar ataxia and a seizure disorder.

       On March 17, 2016, the parties filed a stipulation in which they state that a decision
should be entered awarding compensation and attorneys’ fees and costs. Respondent denies that
1
  Because this decision contains a reasoned explanation for the undersigned’s action in this case,
the undersigned intends to post this decision on the website of the United States Court of Federal
Claims, in accordance with the E-Government Act of 2002, Pub. L. No. 107-347, § 205, 116
Stat. 2899, 2913 (codified as amended at 44 U.S.C. § 3501 note (2006)). As provided by
Vaccine Rule 18(b), each party has 14 days within which to request redaction “of any
information furnished by that party: (1) that is a trade secret or commercial or financial in
substance and is privileged or confidential; or (2) that includes medical files or similar files, the
disclosure of which would constitute a clearly unwarranted invasion of privacy.” Vaccine Rule
18(b).
2
  The National Vaccine Injury Compensation Program is set forth in Part 2 of the National
Childhood Vaccine Injury Act of 1986, Pub. L. No. 99-660, 100 Stat. 3755, codified as amended,
42 U.S.C. §§ 300aa-1 to -34 (2006) (Vaccine Act or the Act). All citations in this decision to
individual sections of the Vaccine Act are to 42 U.S.C.A. § 300aa.


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the flu vaccination is the cause of D.R.J.’s alleged injury, or any other injury or his current
condition. However, the parties agree to the joint stipulation, attached hereto as Appendix A.
The undersigned finds the stipulation reasonable and adopts it as the decision of the Court in
awarding damages, on the terms set forth therein.

      The parties stipulate that Petitioner and her attorney shall receive the following
compensation:

       A lump sum of $10,000.00 in the form of a check payable to Petitioner as legal
       representative of D.R.J. This amount represents compensation for all damages that
       would be available under 42 U.S.C. § 300aa-15(a); and

       A lump sum of $31,736.16 in the form of a check payable jointly to Petitioner and
       Petitioner’s attorney, Andrew Downing, for attorneys’ fees and costs available
       under 42 U.S.C. § 300aa-15(e). In compliance with General Order #9, Petitioner
       incurred no out-of-pocket litigation expenses in proceeding on the petition.

       Stipulation ¶ 8.

        The undersigned approves the requested amounts for Petitioner’s compensation and for
attorneys’ fees and costs. Accordingly, an award should be made consistent with the stipulation.

         In the absence of a motion for review filed pursuant to RCFC Appendix B, the clerk of
the court SHALL ENTER JUDGMENT in accordance with the terms of the parties’
stipulation. 3

       IT IS SO ORDERED.

                                             s/ Lisa Hamilton-Fieldman
                                             Lisa Hamilton-Fieldman
                                             Special Master




3
 Pursuant to Vaccine Rule 11(a), entry of judgment is expedited by the parties’ joint filing of
notice renouncing the right to seek review.


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